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     Allison A. Davis (# 139203)
 1   Sanjay M. Nangia (# 264986)
 2   DAVIS WRIGHT TREMAINE LLP
     505 Montgomery Street, Suite 800
 3   San Francisco, CA 94110
     Telephone: (415) 275-6580
 4   Facsimile: (415) 276 4880
     allisondavis@dwt.com
 5
     sanjaynangia@dwt.com
 6
     Charles M. English, pro hac vice
 7   DAVIS WRIGHT TREMAINE LLP
     1919 Pennsylvania Avenue, NW, Suite 800
 8   Washington, D.C. 20006-3402
     Telephone: (202) 973-4200
 9
     Facsimile: (202) 973-4499
10   chipenglish@dwt.com

11   Attorneys for Defendant DAIRYAMERICA, INC.
12
                                        UNITED STATES DISTRICT COURT
13

14                                    THE EASTERN DISTRICT OF CALIFORNIA

15                                              FRESNO DIVISION
16   GERALD CARLIN, JOHN RAHM, PAUL                   )       Case No. 1:09-CV-00430-AWI-GSI
17   ROZWADOWSKI and BRIAN WOLFE,                     )
     individually and on behalf of themselves and all )
18   others similarly situated,                       )       ORDER GRANTING DEFENDANT
                                                      )       DAIRYAMERICA’S MOTION FOR
19                  Plaintiffs,                       )       LEAVE TO EXCEED PAGE LIMITS
                                                      )
20           v.                                       )
21                                                    )
     DAIRYAMERICA, INC., et al.,                      )
22                                                    )
                    Defendants.                       )
23                                                    )
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                               ORDER GRANTING DEFENDANT DAIRYAMERICA’S MOTION FOR LEAVE

     Case No. 1:09-CV-00430-AWI-GSI
                                 Case 1:09-cv-00430-AWI-EPG Document 202 Filed 12/19/14 Page 2 of 2

                             1                                                    ORDER
                             2            This matter comes before the Court on Defendant DairyAmerica’s Motion for Leave To
                             3   Exceed Page Limits when filing a brief as described in the Court’s Order to Show Cause, at Dkt.
                             4   No. 190. The Motion is GRANTED and DairyAmerica’s brief may exceed the 10-page limit
                             5   imposed by the Scheduling Conference Order and file a memorandum up to 25 pages.
                             6
                                 IT IS SO ORDERED.
                             7

                             8   Dated: December 19, 2014
                                                                                 SENIOR DISTRICT JUDGE
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DAVIS WRIGHT TREMAINE LLP




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                                                           ORDER GRANTING DEFENDANT DAIRYAMERICA’S MOTION FOR LEAVE

                                 Case No. 1:09-CV-00430-AWI-GSI
